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                                                                         Reorganization Plan                                                                                        Case Number 24-31171

Income and                                                                        2024
                                                                                1               2              3                 4                5                  6                   7              8               9              10             11             12         Plan Year 1   Plan Year 2   Plan Year 3   Plan Year 4   Plan Year 5
Income Schedule I                                                             JULY            AUGUST       SEPTEMBER          OCTOBER          NOVEMBER           DECEMBER            JANUARY       FEBRAURY          MARCH           APRIL          MAY            JUNE
                              SSN/Disability                             $        2,832   $       2,832   $      2,832    $        2,832   $         2,832    $          2,832      $      2,931   $      2,931   $       2,931   $      2,931   $      2,931   $      2,931    $    34,579 $      35,789   $    37,042   $    38,338   $    39,680
                              AFMA/K-1                                   $        1,690   $       1,690   $      1,690    $        1,690   $         1,690    $          1,690      $      1,690   $      1,690   $       1,690   $      1,690   $      1,690   $      1,690    $    20,280 $      23,280   $    26,380   $    29,580   $    32,880
                              DSN/Harcher                                $        4,650   $       4,650   $      4,650    $        4,650   $         4,650    $          4,650      $      4,650   $      4,650   $       4,650   $      4,650   $      4,650   $      4,650    $    55,800 $      45,000   $    35,000   $    35,000   $    35,000
                              Make-Ready                                 $        1,500   $       1,500   $      1,500    $        1,500   $         1,500    $          1,500      $      1,500   $      1,500   $       1,500   $      1,500   $      1,500   $      1,500    $    18,000 $      18,000   $    18,000   $        -    $        -
Total Income                                                             $       10,672   $     10,672    $    10,672     $       10,672   $        10,672    $        10,672       $    10,771    $    10,771    $     10,771    $    10,771    $    10,771    $     10,771    $   128,659 $     122,069   $   116,422   $   102,918   $   107,560

Expenses Schedule
                              Gear/Supplies                              $          200 $           200   $       200    $           200   $           200   $             200      $       210    $       210    $        210    $       210    $       210    $       210     $    2,460    $     2,583   $     2,712   $     2,848   $     2,990
                              AFMA Insurance                             $          100 $           100   $       100    $           100   $           100   $             100      $       105    $       105    $        105    $       105    $       105    $       105     $    1,230    $     1,292   $     1,356   $     1,424   $     1,495
                              Payment                                    $        2,650 $         2,650   $     2,650    $         2,650   $         2,650   $           2,650      $     2,650    $     2,650    $      2,650    $     2,650    $     2,650    $     2,650     $   31,800    $    31,800   $    31,800   $    31,800   $    31,800
                              Pet Care                                   $          150 $           150   $       150    $           150   $           150   $             150      $       158    $       158    $        158    $       158    $       158    $       158     $    1,845    $     1,937   $     2,034   $     2,136   $     2,243
                              Utilities/Pool                             $          375 $           375   $       375    $           375   $           375   $             375      $       394    $       394    $        394    $       394    $       394    $       394     $    4,613    $     4,843   $     5,085   $     5,340   $     5,607
                              Food                                       $          800 $           800   $       800    $           800   $           800   $             800      $       840    $       840    $        840    $       840    $       840    $       840     $    9,840    $    10,332   $    10,849   $    11,391   $    11,961
                              Supplies                                   $          200 $           200   $       200    $           200   $           200   $             200      $       210    $       210    $        210    $       210    $       210    $       210     $    2,460    $     2,583   $     2,712   $     2,848   $     2,990
                              rior                                       $          400 $           400   $       400    $           400   $           400   $             400      $       420    $       420    $        420    $       420    $       420    $       420     $    4,920    $     5,166   $     5,424   $     5,696   $     5,980
                              Dental                                     $          150 $           150   $       150    $           150   $           150   $             150      $       158    $       158    $        158    $       158    $       158    $       158     $    1,845    $     1,937   $     2,034   $     2,136   $     2,243
                              Fuel                                       $          240 $           240   $       240    $           240   $           240   $             240      $       252    $       252    $        252    $       252    $       252    $       252     $    2,952    $     3,100   $     3,255   $     3,417   $     3,588
                              Auto Payment                               $          471 $           471   $       471    $           471   $           471   $             471      $       471    $       471    $        471    $       471    $       471    $       471     $    5,652    $     5,652   $     5,652   $        -    $        -
                              Maintenace                                 $          150 $           150   $       150    $           150   $           150   $             150      $       158    $       158    $        158    $       158    $       158    $       158     $    1,845    $     1,937   $     2,034   $     2,136   $     2,243
                              USAA                                       $          284 $           284   $       284    $           284   $           284   $             284      $       298    $       298    $        298    $       298    $       298    $       298     $    3,493    $     3,668   $     3,851   $     4,044   $     4,246
                              Entertainment                              $          250 $           250   $       250    $           250   $           250   $             250      $       263    $       263    $        263    $       263    $       263    $       263     $    3,075    $     3,229   $     3,390   $     3,560   $     3,738
Total Expenses                                                           $        6,420 $         6,420   $     6,420    $         6,420   $         6,420   $           6,420      $     6,585    $     6,585    $      6,585    $     6,585    $     6,585    $     6,585     $   78,030    $    80,059   $    82,189   $    78,774   $    81,122

Monthly Net Income                                                       $        1,420   $       1,420   $     1,420     $        1,420   $         1,420    $          1,420      $     1,255    $     1,255    $      1,255    $     1,255    $     1,255    $     1,255     $   50,629    $    42,010   $    34,233   $    24,144   $    26,437

Obligations
                              and                                        $        2,000 $         2,000   $     2,000     $        2,000   $         2,000    $          2,000      $     2,000    $     2,000    $      2,000    $     2,000    $     2,000    $     2,000     $   24,000 $           -  $          -  $          -  $          -
                              Trustee Fee                                $        1,000 $         1,000   $     1,000     $        1,000   $         1,000    $          1,000      $     1,000    $     1,000    $      1,000    $     1,000    $     1,000    $     1,000     $   12,000 $       12,000 $      12,000 $      12,000 $      12,000
Total Other Obligations                                                  $        3,000 $         3,000   $     3,000     $        3,000   $         3,000    $          3,000      $     3,000    $     3,000    $      3,000    $     3,000    $     3,000    $     3,000     $   36,000 $       12,000 $      12,000 $      12,000 $      12,000

Social Security                                                          $       (1,580) $       (1,580) $     (1,580) $          (1,580) $          (1,580) $          (1,580) $        (1,745) $      (1,745) $        (1,745) $      (1,745) $     (1,745) $       (1,745)   $   (19,950) $     (5,779) $    (14,809) $    (26,194) $    (25,242)
from Social Security                                                     $          550 $           550 $         550 $              550 $              550 $              550 $            550 $          550 $            550 $          550 $         550 $           550    $     6,600 $       6,600 $       6,600 $       6,600 $       6,600

1) VA benefits and SSN
increased at 3.5%
2) AFMA adds 1-3 students
per year
3) Consulting DSN/Harcher
income is for the first 24
months and will continue
through client, objective,
and project needs
4) anticipate substantially
lowering make-ready work
in final 2 years
5) expenses increased at
5%/year and will adjust per
inflation
6) Health insurance is
covered by Veterans Affairs
however Dental is paid out
of pocket

                                                                                         Amount to be                    Payment Level 1 Payment Level 2     Payment Level 3
                              Class No.         Creditors               Claim Amount     paid through                    Months 1-12     Months 13-24        Months 25-36
                                                                                         the plan
Secured                       Class 1           Galveston County              $1,163.64      $1,163.64 (at 12%)                   $60.00           $120.00                     $0
Secured                       Class 2           Harris County                 $1,520.99      $1,520.99 (at 12%)                      $50            $80.00                     $0
Secured                       Class 3           Harris County                $20,287.68              $0                               $0                $0                     $0
Secured                       Class 4           Capital Bank                $689,503.70              $0                               $0                $0                     $0
Secured                       Class 5           Capital Bank                $174,025.82              $0                               $0                $0                     $0
Secured                       Class 6           Capital Bank                $149,660.20              $0                               $0                $0                     $0
Secured                       Class 7           Capital Bank                $289,597.44              $0                               $0                $0                     $0
Secured                       Class 8           Ford Motor Credit               $22,175              $0                               $0                $0                     $0
Secured                       Class 9           JP Morgan Chase               321,944.92             $0                               $0                $0                     $0
Secured                       Class 10          Stellar Bank                $659,373.37              $0                               $0                $0                     $0
Secured                       Class 11          Clear Creek ISD              $28,404.97              $0                               $0                $0                     $0
Secured                       Class 12          Clear Lake City Water A.      $6,601.92              $0                               $0                $0                     $0
Secured                       Class 13          Mercedes-Benz                   $55,000              $0                               $0                $0                     $0
Secured                       Class 14          Mercedes-Benz                   $55,000              $0                               $0                $0                     $0
Secured                       Class 15          Pasadena ISD*                $24,412.19      $2,207.60 (at 12%)                     $100            $80.00                     $0
Secured                       Class 16          City of Houston          $704.15$704.15        $704.15 (at 12%)                   $85.00                $0                     $0
Secured                       Class 17          Young/Michael Franklin      $315,948.77 to be paid as unsecured          (Amount included in unsecured claims total)
Secured                       Class 18          Frost Bank                  2,652,479.79 to be paid as unsecured         (Amount included in unsecured claims total)
Secured                       Class 19          City of Seabrook              $1,803.59           $0.00                            $0.00                $0                     $0
Secured                       Class 20          City of Pasadena              $6,906.35           $0.00                            $0.00                $0                     $0
Secured                       Class 21          City of Webster               $4,675.16           $0.00                            $0.00                $0                     $0

                              Class 22          Unsecured Claims          $3,856,831.01                                  $        550.00 $           550.00 $           550.00
                              Attorney's Fees                                  $24,000                                            $2,100
                              Sub V Trustee                                    $12,000                                            $1,000

*Escrow in mortgage
